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COFFEE COUNTY TENNESSEE
§UL 3 3 2013

ANTHoNY DAYII) TEAL, oNETA KAY ) E,R,C,m mw
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Plaiiltiff$ ) .-r'

) Civil Action: '7/5750? `5
V- )

)

COFFEE COUNTY BANK ) Jl!l'y Demalld
)
VERIFIED COMPLAINT

Anthony David Teal and Oneta Kay Teal, by and through counsel, and for their Complaint state
as follows:
PARTIES
1. Anthony David Teal and Oneta Kay Teal (“Plajntiffs”) aro, at all times mentioned
here:`m, residents of Morriso;o, Coffee County, Tennessee.
2. Coff`ee County Bank (“CCB”) is a commercial banking institution With its main offices
located at 2070 Hillsboro Blvd. Manchester, Tennessee 37355. Its registered agent for
service of process ie: Bwin'g J. Threet, 2070 Hillsboro Blvd., Manchester, TN 37355.

COUNT I
WRONGFUL FORECLOSURE-ZIZ GOTTA D/IILK LANE, MORRISON, 'I`N

3. On July 26, 2013 CCB conducted a foreclosure 0f212 Gotta Mi]k Lane, Morrison, TN
(“Gotta Mjlk Lane Property”) pursuant to a deed of trust dated December 14, 2005 and
recorded With the Coffee Cotmty Registry of Deeds in Book 670, Page 782 between

Plaintiii"s as the mortgagor and CCB as mortgagee (Exhibit 1).

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4. At the time of the foreclosure there was allegedly 3 outstanding loans to CCB allegedly
secured by the Gotta Mi]lc Lane Property.

5. CCB foreclosed upon one loan- which allegedly had an amount due as of luly 26, 2013
of $225,730.13. Plaintiffs Were) never provided Witb a full accounting (Exhibit 2).

6. CCB placed a credit bid at the foreclosure for $400,000.

7. CCB was only entitled to credit bid up to the amount owed on said loan.

8. CCB did not have certified funds for the difference between what it Was owed
($225,730.13) and the amount of its credit bid ($400,000).

9. CCB did not have the original note at the foreclosure

10. CCB received a cash bid at the foreclosure sale nom a Mr. Fred Adams. Because CCB
was only allowed to bid a credit bid up to the amount owed on the Note upon Which
they Were foreclosing Plaintiff:`s’ equity of redemption their bid is void and the property
should go to the next highest bidder.

ll. The foreclosure is void.

12. Piaintiffs have suffered damages as a direct and proximate result ofthe conduct of the
Defendants.

COUNT II
WRONGFUL FORECLOSURE 630 TEAL RGAD, MORRISON, 'I‘N

13. Plaintiffs re-allege and reaffirms ali prior paragraphs 1-12 above as if set forth fully
herein

14. 630 'I`eal Road is owned in fee simpie by Plainti&"l`ony Teal (“Tony”) who owns 1/3
interest and his brother Ronnie Teal (“Ronnie”) who owns 2/3 interest pursuant to a

Deed dated July 27, 2099.(Exhibit 3).

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15. On August 24, 2009 Katlierine ri`eal, Tony’s and Ronnie’s mother signed a Promissory
Note to CCB in the amount of 1$97,500. (Exhibit 4).

16. On August 24, 2009 Tony and Ronnie signed a Deed of 'l`rust to secure Katherine
'.l_`eai’s promissory note to CCB vvhich Deed of Trust is recorded with the Coffee
County Registry ofDeeds in B'ool< 795, Page 281.

17. The Deed of 'l`rust states: “Gi\~'en to secure a line of credit from Coffee County Banic
Which will be available to Katherine Teal in the amount ofNinety-Seven Thousand
Five Hundred & NO/ 100 ($97,,500) Dollars, which will be maintained after the date of
this note, but in no event longer than Septernber 3, 2010, unless extended or modified,
;z;rd subject to no adverse change in the financial condition of Katberine 'I`eal.” (Exhibit

18, There vvas no extension or modification on or before September 3, 2010 at Whieh time
the Note became unsecured CCB has not provided a full account for this loan.

19. On July 26, 2013 CCB conducted a foreclosure for Tony’s 1/3 interest of 630 Teal
Road, Morrison, TN (“Teal Road Property”) pursuant to the Deed of Trust dated
August 24, 2009. (Exhibit l).

20. On July 26, 2013 Ronnie vvas in bankruptcy thereby preventing CCB from foreclosing
on his 2/3 interest.

21. At the time of foreclosure this property Was unsecured

22. CCB placed a credit bid at the time of the foreclosure

23. CCB did not have the original :note at the foreclosure

24. The foreclosure is void.

25. Plaintiffs have suffered damages as a direct and proximate result of the conduct of the

Det`endants.

COUNT IlI
BREACH OF CON'I`RACT FOR 212 GOTTA lV[|LK LANE, MORRISON, TN

b.)

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26. Plajntiffs re~allege and reaffirm all prior paragraphs 1-25 above as if set forth fully
herein.

27. Plaintiffs hereby bring a claim for Brcach of Contract against CCB for breach of Non-
Uniform Covenant contained in paragraph 22 of the Deed of Trust contract between
Piaintiffs and CCB recorded With the Coffee County Registry of Deeds in Book 670,
Page 782.

28. Paragraph 22 of the above-captioned deed oftrtlst contains a condition precedent to
foreclosure and States:

Acceleration: Remedies. Lender shall give notice to Borrower prior to
acceleration following Borrower’s breach of any covenant or agreement

in this Security instrument (but not prior to acceleration under paragraph 17
unless applicable law provides otherwise). The notice shall specify: (a)
the default; (b) the action required to cure the default; (c) date, not less
than 30 days from the date the notice is given to Borrower, by which the
default must be cured ; and (d) that failure to cure the default on or before
the date specified in the notice may result in acceleration of the sums
Secured by this Security instrument and sale of the Property. THE NOTICB
SHALL FURTHER lNFORM BORROWER OF THE RIGHT TO
RE]NSTATE AFTER ACCELERATION AND THE RlGI-IT TO BRING
A COURT AC'I`ION TO ASSER.T THE NON- EXISTENCE OF A

DEFAULT OR ANY OTHER DEFENSE OF BORROWER TO
ACCELERATION A.ND SALE. (Emphasis added).

29. The Notice of acceleration failed to notify Plaintiffs that they could bring a court action
to assert the non-existence of a default or any other defenses to acceleration and sale.

30. As a direct and proximate result of CCB’s breach of contract, Plaintiffs have suffered
damages, including the loss of her home and the value thereof

31. The failure of CCB to comply with a condition precedent to foreclosure renders the

foreclosure null and void.

32. Plaintiffs thus demand an award of actual, compensatory and punitive damages

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COUNT IV ‘
(Res cissicn-»-Mistake-Vcid Agrecment!Ccntract Reformation)

33. Plaintiffs incorporate by reference each and every allegation contained in the
proceeding paragraphs of this Complaint.

34. The Restaternent (S econd) of Contracts, §17 states that “the formation of a
contract requires a bargain in Which there is a manifestation of mutual assent . .”
American Law lnstitute, Restatement (Second) of Contracts, §17(1).

35. The bargain between the parties is chen referred to as the “meeting of the minds.”
See, e.g., Arnerican Law lustitute, Restatement (Second) of Contracts, §17, comment 2.
120. The mistake or missing of the minds does not have to be mutual A single party
mistaken justifies the voiding or rescinding of the contract

36. The Restatement (Second) of Contracts, §153 states: Where a mistake of one

party at the time a contract was made as to a basic assumption on which he made the

contract has a material effect on the agreed exchange of performances that is adverse to
him, the contract is voidable by him if he does not bear the risk of the mistake under the
rule stated in §154'7, and (a) The effect of the mistake is Such that enforcement of the
contract Wou.ld be unconscionable, or (b) The other party had reason to know of the
mistake or his fault caused the mistake

37. The first requirement “is compelled by the rule that a meeting of the minds must

occur in order to create a contract Where one party misunderstands, or otherwise makes a

mistake that goes to the substance of the agreement into which it enters, no meeting of the

minds occurs, and thus, no contract exists.” Roberts & Schaefer Cdo. v. Hardaway Co., 152

F.3d 1283, 1291 (llth Cir. 1998).

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38. The Plaintifl"s believed they Were entering into a modification after Bankruptcy
which extended the term of` their loan regarding the $215,000 loan on 212 Gotta l‘vfillc Lane,
Morrison, TN, because the modification agreement specifically states that it Will extend the
maturity date on the loan through February 20, 2012. The extension of time was necessary
for this modification because the loan was being reaffirmed from Banlotuptcy. (Exhibit 6).
39. I-Iowever, despite the modification agreement specifically stating that the term
was being extended it was actually April 15, 2013 to Febraury 20, 2012.

40. A unilateral mistake merits reformation of the underlying contract where the
“incquitable conduct of the other party induces the mistake.” City of Lawrencevi!le v. Richo
Elect. Inc., 174 Fed. Appx. 491, 494 (l lth Cir. 2006), quoting Prince v. li‘rr`edman, 202
GA. 136 (Ga. 1947).

41. ln this case, the Defendant drafted the agreement Piaintiffs were never given any
documentation for the loans they signed and therefore they had no way of knowing that the
date on the modification agreement actually decreased the maturity date by a year.

42. Plaintift`s, having just been discharged in Banlcruptcy would never have signed a
modification agreement which decreased the time they had until the maturity of` the loan.
43. The Plaintiffs in this action executed their Loan documents based on the mistaken
belief that they were entering into a modification agreement that extended the maturity date
of their loan because that’s what the document said it did when in actuality it decreased the
maturity date by more than a year.

44. Because of` this mistake, the Plaintiffs’ benefit from their Loan agreement is far
less than they thought they Would receive

45. This mistake was not a future contingency, but a reality present at the contract

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fonnation: the Det`endants knew the modification agreement lessened the time from the
signing of` the modification agreement to maturity than the loan that was being modified
46. Based on the material mistake in their folmation, Plaintiffs are therefore entitled
to an order of` this Court rescinding the Loan and!or declaring the Loan yoid, invalid and
unenforceable Plaintiffs gave timely notice of rescission to Defendant in writing pursuant

to a Ternporary Restraining Order Nled in the U.S. District Court for the Eastem District of`

Tennessee.
47. fn addition, Plaintiffs request restitution and damages
COUNT V
QUIET TITLE

48. Plaintiffs reaffirm and re-allege paragraphs 1~47 hereinabove as if set forth more fully
herein below.

49. Plai.ntit`fs hereby bring a claim to quiet title to the Property located at 212 Gotta Milk Lane,
Morrison, TN

50. The Plaintiffs are the owners of a parcel of land with the buildings thereon at 212 Gotta
Milk Lane, Morrison, TN. The Defendant claimed possession ofthe Property at the time of`
the foreclosure auction sale of Piaintiff`s’ property

51. By sale at public auction on duly 26, 2013 Defendant sold and conveyed the premises to
CCB.

52. Plaintiffs have suffered damages as a direct and proximate result of the conduct of the
Defendants.

COUNT VI
(F rand in the Inducement concerning making of the loans to I)efendant)

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5 3. Plaintift`s reaffirm and re-allege paragraphs 1~52 hereinabove as if set forth more iiilly
herein below.

54. Under Tennessee law, a Plaintiff must prove five elements to sustain a claim of fraud in
the inducement of a contract: (l) [the existence of] a false statement concerning a fact
material to the transaction; (2) knowledge cf the Statements falsity or utter disregard for
its truth; (3) intent to induce reliance on the statement; (4) reliance under circumstances
manifesting a reasonable right to rely on the statement (5) an injury resulting from the
reliance Blackburn & McCune, PLLC, 2010 WL 2670816, at *11 (qucting Larnb, 26
S.W.Bd at 630).

55. Under Tennessee law, the fraudulent inducement of a contract invalidates the contract
because there is no meeting of the minds and illusory consideration Seaton v. Lawson
Chevrolef-Mazda, Inc., 821 S.W.2d 137 ('l`enn.l991); Dozier v. Hctwthorne Development
Co., 37 Tenn. App. 279, 262 S.W.2d 705 (1953).

56. CCB fraudulently induced the Plaintiffs into reaffirn'n’ng the $215,000 loan after
bankruptcy by leading them to believe that the maturity date was being extended whereby
they Would have more time to become financially stable again after bankruptcy

57. CCB misrepresented the modification terms of the loan to Plaintiifs.

58. CCB intended to induce reliance on their statement that Plaintift`s term would be
extended and that a modification would be able to do that so that the so that the Plaintift`s
didn’t have to present a reaflirmation agreement to the bankruptcy court which would
never have approved reaffirmation based on the loans CCB had Plaintifi`s sign after
bankruptcy

59. Plaintift`s has been injured by the actions ofthe Defendaut.

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COUNT VII
Intentional, Fraudulent and Negligent and/or Reck}ess Misrepresentation

60. Plaintiffs reaffirm all prior paragraphs herein above as if set out here in full.

61. The elements for Fraudulent misrepresentation are (l) the l)efendants made a
representation of fact; (2) the representation Was false; (3) the representation related to a
material fact; (4) the representation was made knowingly, recklessly or Witbout a belief in
its truth; (5) the Plaintiif acted reasonably in relying on the misrepresentation; and (6) the
Plaintift` suffered damages as a result Metropolitan Governnient of Nashvilie &
Davidson County v. McK.inney, 852 S.W.Zd 233, 237 (Tenn. Ct. App, 1992).

62. Negiigent Misrepresentation the elements of which are (1) the Defendant, acting in the
course of its business, profession or employment or in a transaction in which it has a
pecuniary interest, (2) supplies faulty information meant to guide others in their business
transactions and (3) the Defendant fails to exercise reasonable care in obtaining or
communicating the information (4) on which the Piaintiff justifiably relies. Williams v.
Berube & Assoo., 26 S.W.Sd 640 (Ten. App. 2000).

63. Under Tennessee law, in order to recover for negligent misrepresentation, the plaintiff
must show that the defendants supplied false information for the guidance of the other in
their business transactions; that the plaintiff justifiably relied on the information; and that
the defendants failed to exercise reasonable care or competence in obtaining or
communicating the information Robinson v. Omer, 952 S.W.Qd 423, 427 (Tenn. 1997).

64. Reckless and intentional nnsrepresentation both fall “dthin the definition of fraudulent
misrepresentation under Tennessee Iaw.

65. In order to show that a fraudulent misrepresentation has occurred under Tennessee law,

the plaintiff must prove that the defendants knowingly or recklessly made a

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misrepresentation relating to an existing or past fact; that the plaintiff reasonably relied
on the nnsrepresentation; and that the plaintiff suffered damages as a result Shahrdar v.
Global Housing, Inc., 933 S.W.Zd 230, 237 (Tenn. Ct. App. 1998); Hill v. John Banks
Buz'ck, Inc., 8'?5 S.W.Zd 667, 670 (Tenn. Ct. App. 1993). Accord Tsckz'ra v. Wz'llr'ngham,
135 P.Bd 1077, 1086 (6th Cir. 1998)(applying Tennessee law). Such a claim may also be
proven by showing “the concealment or nondisclosure” cfa known fact when there is a
duty to disclose.

66. CCB knowingly or recklessly made a misrepresentation relating to an existing fact when
they stated that the modihcation agreement would extend Plaintiffs loan tenn; when they
lead Plaintiffs to believe that the 630 Teal Road was seemed; When they provided
Plaintiffs with documentation with numerous errors which go to the heart of the
contracts

67. CCB knowingly made misrepresentations in order to gain a financial benefit at the
expense ofPlaintiffs whereby CCB knew that the Plaintiffs Wouid not be able to comply
with the terms of the modification agreements after Piaintiffs bankruptcy and that CCB
would sweep in and take the property in foreclosure

68, CCB knowingly misrepresented to Plaintift`s that certain ioans were secured when in fact
they were not.

69. CCB knowingly misrepresented to Plaintiffs that certain property was cross-collateralized
when in fact it was not.

70. Plaintiffs reasonably relied on this misrepresentation which reliance caused Plaintiffs to

lose their horne and properties upon which CCB alleges they have a security

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71. CCB knowingly made this misrepresentation in order to gain a financial benth at the
expense of PlaintiiTS.
72. As a result of the misrepresentations by CCB, Piainti£fs have been damaged

COUN'I` VIII
VIOLATION OF 15 U.S.C. § 1635(1))

73. Plaintiii rcr-alleges all prior paragraphs i» 72 herein above as if set out here in full.

74. 15 U.S.C. § l635(b) (emphasis added). When an obligor exercises his right to rescind as
defined in § loBS(a)-~that is, as Regulation Z states, when he notifies the creditor by
maii, telegram, or other means of written communication that he is rescinding-he is free
of any liability for payments, the security interest -~becomes void, and the creditor incan
an obligation to return money or property given. As with § 1635(a), there is no mention
of filing a suit at law or equity. Rather, § 1635(b) states that the creditor must return
money or property -~[W]ithin 20 days aHer receipt cfa notice ofrescission~»~»not within
twenty days of a court order stating that the obligor is entitled to rescindl

75. Additional support for the proposition that rescission occurs upon transmittal of valid
written notice is also found in § l635(t). That section, which establishes the three-year
limitation makes no mention of filing a suit or bringing a claim:

76. Regulation Z uses similar language except that it refers to _[w]hen a consumer
rescinds a transaction, as opposed to -when an obligor exercises his right to rescind. 12
C.F.R. §§ 1026.15(d), 1026.23 (d) (stating that the --security interest . . . becomes Void
and that the _creditor shall return money or property given). The reference to a
consumer rescinding the transaction-as opposed to a court granting rescission_further

supports the view that rescission occurs upon transmission of valid written notice

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77. Plaintit`fs properly rescinded the three loans aiiegedly secured by Plaintiff’s residential
property when they gave notice of rescission pursuant to a request for Temporary
Restraining Order filed in their Federal Lawsuit against CCB which case was filed on
March il, 2013 Within the three year period allowed for rescinding the loans.

VIOLATION OF 11 U.S.C. § 524

78. Plaintifi`s reaffirm and re-alleges all prior paragraphs l- 77 herein above as if set out here
in fuii.

79. CCB caused Plaintiffs to sign modification agreements and reaffirmation of notes after
the Piaintiffs were discharged in Banicruptcy in violation of 11 U.S.C. § 524 regarding
the notes upon which they foreclosed for 212 Gotta Milk Road and 630 Teal Road.

80. CCB caused PiaintiHs to sign modification agreements and reaffirmation of the debt after
Plaint:iffs were discharged in Bankruptcy in violation of 11 U.S.C. § 524 regarding
Various other alleged loans which Plaintift`s allegedly have with CCB.

81. CCB did not seek court approval prior to seeking reaffirmation from Plaintift`s.

82. As a result of violation of ll U.S.C. § 524 Plaintiffs have been damaged

PRAYER FOR RELI_EF
WHEREFORE, Plaintiii`s pray this Court will enter judgment against Defendant and as
follows:
a. For an order compelling said Defendant to transfer ali right, title and interest in the
properties, the subject of this litigation, to Plaintiffs and release any and all
encumbrances from the properties ;

b. For an order awarding Plaintiffs general damages according to proof;

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c. For an order awarding Plaintift`s compensatory damages according to proof;
d. For an order awarding Plaintift`s actual damages according to prooi`;

e. Por an order awarding Plaintiffs special damages according to proof;

f. For an order awarding Plaintiffs exemplary and punitive damages in the amount of
$l ,000,000.00

g. Por an order awarding Plaintift`s their reasonable costs of suit;

h. F or an order for statutory damages;

i. `For an order for treble damages where allowed by law;

j. For an award of Attorney’s fees;

k. For an order for an award of $5,000,000 for pain and suffering;

l. For pre-j udgment interest on all damages award;

m. For such other relief that the Court or jury deems just and equitable

DEMAN]) FOR JURY TRIAL

ec ly submitte

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6724 Buford Statio o
Lynnville, TN 3842
(931) 527-3603 Phone
(93}) 527-0382 Fax

 

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VERIFICATION

We, Anthony David Teal and Oneta Kay Teal, individually, are the Piaintif€s in
the above-entitled action. We have read the foregoing and know the contents
thereof The same is true of my own knowledge, except as to those mattes which
are therein alleged on information and beiief, and as to those matters, I believe it
to be trne.

I declare under penalty of perjury that the foregoing is true and correct and that
this declaration was executed at Giles County, Tennessee.

Dated: 7/?0//5

Anni@ay need rear

Oneta Kay Teai, Inili’vidually

 

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EXHIBIT l

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r ` c
essee, described as follows, to wit: _

Beginning on an'iren stake in the south margin of algney
need in old fence and running thence Sout:h 03° 30' West,
0

 

1 5 f ith ld fane rock in arrell corner,- .
thence No th 86'° West:, 2,088 feet with Ha.n~ell line
t ir n sta e et st _,~'»'-'t:he southeast earner
of a r e act, th ce No h 36° est,

1,4 eat ' r ll line eo the enter nd eek;

enc l‘unn'ng do t ente of C.’reek th followin
a legs d int c z .No h 13 t, 94 feet,
hence So th 8 ° 0 a t, 1 5.5 f e thence lt 50
52’ , 54 feet,» h ce h 04° , 05 eet_.-
thence .N' 57° l es£:, eet; t ce 4° 28’

Wne feet he ce Nort;h 60° 38' _F'{_ , f ,- thence

North 14 OB’ , .9.5 feet:; thence th 3° 4 aet,

80 feeb,- t nce South 33 55’ Ea"st:} l t, thence

Noreh 79 7 se, 52 eat; thenee'-_.; th 450 s ase,-

57 fe thence worth 20° 0 ast:`., 6 e hence

Nort:h 4 0' st, 86 feet o agr a n tr t e b

Walter Me and R.lgne hence North 09 00' st 678 .

fe t 'th he greed o -o':E-Mcld ‘gney‘ o a

rock n l ce corn r,~ henee._'-South 81° 30 c

1,135 ‘ Rowlaa "a'nf‘lir_z'e o an iron stale ,»

t rice North 88° ’ East:, 475 fee`t` tr.i' fence _ ex

line t ron take an ence order of `Rigney,- chance

south 21° 0 st, feet with a' line gney' ,
o an iron st k , th ce SOuth-_BB° 37’ East:, 578 eat

with y's line to on state w rgin of

RJ. yRo ,- thence South 370 oc' t, 41 feet t the

west of R_~; ey Road t an a t th ce south

 

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mentéC'STTeaH
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CaS€ 4' _

 

58° 35' East, 100 feet with the southwest margin of
Rigney Road to an iron stake ; thence South 64° 25' East,
190 feet with the southwest margin of Rigney Road to an
iron stake ,- thence South` 59° 00' Eaet, 410 feet with the
south margin of Rigney Road to an iron stake; thence
South 71° 48" Rast, 110.9 feet with the south margin of
Riguey Road to the beginning. Containing 94.0 acres,
more or less, according to a survey by Earl Smit:h dated
January 9, 1979.

end being the same property conveyed to Anthony Teal and
wife, Mrs. Oneta K. Teal by deed from Clayhome S. L.
Rigney and wife, Willene Orrick Rigney, dated Harch 16,
1979 and recorded in Warra.oty need Book 169, page 111.
Register'e Office of Coffee Connty, Te.unessee.

TOGETEER WITH all the improvements now or hereafter erected on
the property, and all easements, appurtenances, and fixtures now or
hereafter a part of the property. All replacements and additions
shell also he covered by this Security Instrument. .'All of the
foregoing is referred to in this Security Instrument as the

"Property. ”

BORROWER COVENANTS that Borrower is lawfully eeieed of the
estate hereby conveyed and has the right to grant and convey the
Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend
generally the title to the Properl:y against all claims and demands,
subject to any encumbrances of record.

THIS SECUI§‘.ITY INSTRUMENT combines uniform covenants for
national use and non-uniform covenants with limited variations.by
jurisdiction to constitute a uniform security instrument covering

real property .

UNIFORM COVBNBNTS. Borrower and Lender covenant and agree as
follows:

l. Pa.yment of Pr:l.ncipal and Interestr Prepayment: and Late
Charges. Borrower shall promptly pay when due the principal of and
interest on the debt evidenced'by the Note and any prepayment and
late charges due under the Note. .

2. Funds for 'I.'azes and Insurance. Le:cder reserves the right
to require Borrower to escrow funds for taxes and insurance,-
however, on written requeot, Borrower shall pay to Leoder on the f
day monthly payments are due under the Note, until the Note is paid
ill full, a sum ("Func'{s') for: (a) yearly taxes and assessments
which may attain priority over this Security Instrument as a lien
on the Property; (b) yearly leasehold payments or ground rents on-
the Property, if any; {c} yearly hazard or property insurance
premiums; (d) yearly flood insurance premiums, if any; {e) yearly
mortgage insurance premim'ns, if any; and (f} any sums payable by
Borrower to Lender, in accordance with the provisions of paragraph
8, in lieu of the payment of mortgage insurance premiums. The.se
items are called °Escrow Items-' lender may, at any time, collect
and hold Fu.nds in an amount not to exceed the maximum amount a
lender for a federally related mortgage loan may require for
Borrower's escrow account under the federal Real Estate Settlement:
Procedures Act'. of 1974 as amended from time to time, 12 U.S.C.
§2601 et Seq. (“RBSPA"), unless another law that applies to the
Funds sets a lesser amount. If so, Lender may, at amy time,
collect and hold Funds in an amount not to exceed the lesser
amount- Lender may estimate the amount of Fzmds due on the basis
of current data and reasonable estimates of expenditures of future
Eecrow Items or otherwise in accordance with applicable law.

The Funds shell he held in an institution whose deposits are
insured by a federal agency, instrumentality, or entity {including

 

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CC B(Teei)_OOOS*i‘l

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Lender if bender is such an institution) or in any Federal some
Loan Bank, Lender shall apply the Funds to pay the escrow items.
Lender may not charge Borrower for holding and applying the Funds,
annually analyzing the escrow account, or verifying the Escrow
Items, unless bender pays Borrower interest on the Funds and
applicable law permits Lender to make such a charge. However,
Lender may require Borrower to pay a one-time charge for an
independent real estate tax reporting service used by Lender in
connection with this loan, unless applicable law provides
otherwise Unless an agreement is made or applicable law requires
interest to be paid, bender shall not be required to pay Borrower
any interest or earnings on the Fu.nds. Bcrrower and bender may
agree in writing, however, that interest shall be paid on the
Funds. Lender shall give to Borrower, without charge, an annual
accounting of the Funds, showing credits and debits to the Funds
and the purpose for which each debit to the Funds was made. The
Funds are pledged as additional security for the sums secured by
this Security Instrument.

If the Funds held by Lender exceed the amounts permitted to be
held by applicable law, Lender shall account to Borrower for the
excess Funds in accordance with the requirements of applicable law.
If the amount of the Funds held by Lender at any time is not
sufficient to pay the Escrow Items when due, Lender may so notify
Borrower in writing, and, in such case narrower shall pay to Lender
the amount necessary to make up the deficiency. Borrower shall
make up the deficiency in no more than twelve monthly payments, at
Lender's sole discretion.

Upon payment in full of all sums secured by this Security
Instrument,. bender shall promptly refund to Borrower and Funds held
by Lender. If, under paragraph 2_1, bender shall acquire or sell
the Property, Lender, prior to the acquisition or sale of the
Property, shall apply any Funds held by Lender at the time of
acquisition or sale as a credit against the sums secured by this
Security Instrument.

3. Applica.tion o:E Fayments. Unless applicable law provides
ctherwise, all payments received by Lender under paragraphs l and
2 shall be applied; first, to any prepayment charges due under the
Note; second,. to amounts payable under paragraph 2 ; third, to
interest due; fourth, to principal due; and last,. to any late
charges due under the No,t:e. '

4. Chargesy Li*`ans. Borrower shall pay all taxes,
assessments, charges, fines and impositions attributable to the
Property which may attain priority over"~ this Security Instrnment,
and leasehold payments or ground rents, if any. Borrower shall pay
these obligations in the manner provided in paragraph 2, or if not
paid in that manner, Borrower shall pay them on time directly to
the person owed payment. Borrower shall promptly furnish to Lender
all notices of amounts to be paid joinder this paragraph. If
Borrower makes these payments directly, Borrower shall promptly
furnish to bender receipts evidencing the payments.

Borrower shall promptly discharge any lien which has priority
over this Security Instrnment unless Borrower,- {a} agrees in
writing to the payment of the obligation secured by the lien in a
manner acceptable to Lender; (b} contests in good faith the lien
by, or defends against enforcement of the lien in, legal
proceedings which in the Lender’s opinion operate to prevent the
enforcement of the lien; or {c) secur’es from the holder of the lien
an agreement satisfactory to Lender subordinating the lien to the
Security Instrument. If Lender determines that any part of
Property is subject to a lien which may attain priority over this
Security Instrument, bender may give Borrower a notice identifying
the lien. narrower shall satisfy the lien or take one or more o£
the actions set forth above within 10 days of the giving of notice.

5. Hazard or Property Insurance. Borrower shall keep the
improvements now existing or hereafter erected on the Propert:y
insured against loss of fire, hazards included within the term
”e:-:tended coverage" and any other hazards including floods or

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flooding, for which Lender requires insurance This insurance
shall be maintained in the amounts and for the periods that Lender
requires. The insurance carrier providing the insurance shall be
chosen by Borrower subject to Lend°er’s approval which shall not be
unreasonably ~withheld. If Borrower fails to maintain coverage
described above, Lender may, at Lender's option, obtain coverage to
protect Lender's rights in the Property in' accordance with
paragraph 7.

1111 insurance policies and renewals shall be acceptable to
Lender and shall include a standard mortgage clause. bender shall
have the right to hold the policies and renewals. If Lender
re?uires, Borrower shall promptly give to Lender all receipts of
pa d premiums and renewal notices. In the event of loss, Borrower
shall give prompt notice to the insurance carrier and Lender.
Lender may make proof of loss if not made promptly by Borrower.

Unless bender and Borrower otherwise agree in writing,
insurance proceeds shall be applied to restoration or repair of the
Property damaged, if the restoration or repair is economically
feasible and Lender's security is not lessened. If the restoration
or repair in not economically feasible or Lender's security would
be lessened, the insurance proceeds shall be applied to the sums
secured by this Security Instrument, whether or not then due, with
any excess paid to Borrower. If Borrower abandons the Property, or
does not answer within 30 days a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may
collect the insurance proceeds. Lender may use the proceeds to
repair or restore the Property or to pay sums secured by this
Security lnstrument, whether or not then due. The 130-day period
will begin when the notice is given.

Unless Lender and Borrower otherwise agree in writing,. any
application of proceeds to principal shall not extend or postpone
the due date of the monthly payments referred to in paragraphs l
and 2 or change the amount of the payments. lf under paragraph 21
the Property is acquired by Lender, Borrower's right to any
insurance policies and proceeds resulting from damages to the
Property prior to the acquisition shall pass to tender to the
extent of the sums secured by this Security Instrument immediately
prior to the acquisition.

6. Occupanoy, Presarvation, Haintenance and Protection of
Property; Borrower'__s Loa.n n plication; Leaseholds. Borrower shall
not destroy, damage?~"or imp r the Property, allow the Property to
deteriorate, or commit waste on the Property. Borrower shall he in
default if any forfeiture action or proceeding, whether civil or
criminal, is begun that in Lender's good faith judgement could
result in forfeiture of the Pro§erty or otherwise materially impair
the lien created by this Seour ty lnstrument or Lender's security
interest. Borrower may cure such a default and reinstate, as
provided in paragraph 18_. by causing the action or proceeding to be
dismissed with a ruling that,. in Lender's good faith determination,
precludes forfeiture of the Borrower's interest in the Property or
other material impairment of the lien created by this Security
Instrument or Lender's security interest. Borrower shall also be
in default if Borrower, during the-loan application process, gave
materially false or inaccurate information or statements to Lender
(or failed to provide Lender with any material information} in
connection with the loan evidenced by the Note_. including , but not
limited to, representations concerning Bor~rower's occupancy of the
Property as a principal residence. If this Security Instrument is
on a leasehold, Bo::rower shall comply with all the provisions of
the lease. If Borrower acquires fee title to the Property, the
leasehold and the fee title shall not merge unless Lender agrees to
the merger in writing.

'?. Protection of Lender's Rights in the Property.. If Borrower
fails to perform the covenants end agreements contained in the
Security Instr'ument, or there is a legal proceeding that may
significantly affect Lender’s rights in the Property (such as a
proceeding in bankruptcy probate, for condemnation or forfeiture

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or to enforce laws or regulations), the Lender may do and pay for
whatever is necessary to protect the value of the Property and
Lender's rights in the Property. Lender's actions may include
paying any sums secured by a lien which has priority over this
Secnrity Instrument, appearing in court, paying reasonable
attorney’s fees and entering on the Property to make repairs.
Although Lender may take action under this paragraph '7, Lender does
not have to do so.

Auy amounts disbursed by Lender under this paragraph 7 shall
become additional debt of Borrower secured by this security
Instrument. Unless Borrower and Lender agree to other terms of
payment, these amounts shall bear interest from the date of
disbursement at the Note rate and shall be payable, with interest,
upon notice from bender to Borrower requesting payment.

B. mortgage Insurance. If bender required mortgage insurance
as a condition of making the loan secured by this Security
Instrument, Borrower shall pay the premiums required to maintain
the mortgage insurance in effect. If, or any reason, the mortgage
insurance coverage required by Lender lapses or ceases to be in
effect, Borrowe‘r shall pay the premiums required to obtain coverage
substantially equivalent to the mortgage insurance previously in
effect, at a cost substantially equivalent to the cost to Borrower
of the mortgage insurance previously in effect, from an alternate
mortgage insurer approved by Lender. If substantially equivalent
mortgage insurance coverage is not available, Borrower shall pay to
Lender each month a sum equal to one-twelfth of the yearly mortgage
insurance premium being paid by Borrower when the insurance
coverage lapsed or ceased to be in effect. Lender will accept, use
and retain these payments as a loss reserve in lieu of mortgage
insurance. nose reserve payments may no longer be required, at the
option of Lender, if mortgage insurance coverage {in the amount and
for the period that Lender requires) provided by an insurer
approved by Lender again becomes available end is obtained.
Borrower shall pay the premiums required to maintain mortgage
insurance in effect, or to provide a loss reserve, until the
requirement for mortgage insurance ends in accordance with any
written agreement between Borrower and bender or applicable law.

9. lnspection. bender or its agent may make reasonable
entries upon and inspections of the Property. Lender shall give
Borrower notice at the time of or prior to an inspection specifying
reasonable cause for the inspection. -

10. Condemnution. The proceeds of any award or claim for
damages, direct or consequential, in connection with any
condemnation or other taking of any part» of the property, or for
conveyance in lieu of condemnation, are hereby assigned and shall
be paid to Lender.

In the event of total taking of the Property, the proceeds
shall be applied to the sums secured by‘this Security Instrument,.
whether or not then due, with any excess paid to Borrower. In the
event of a partial taking of the Property in which the fair market
value of the Property immediately before the taking is equal to or
greater than the amount of the sums secured by this Security
Instrument immediately before the taking, unless Borrower and
Lender otherwise agree in writing, the sums secured by this
Security Instrument shall be reduced by the amount of the proceeds
multiplied by the following fraction=: (a) the total amount of the
sums secured immediately before the taking, divided by (b) the fair
market value of the Property immediately before the taking. Any
balance'shall be paid to Borrower. In the event of a partial
taking of the Property in which the fair market value of the
Property immediately before the taking is less than the amount of
the sums secured immediately before the taking, unless.Borrower and
bender otherwise agree in writing or unless , applicable law
otherwise provides, the proceeds shall be applied to the sums
secured by this Security Instrument whether or not the sums are

then due. _
If the Property is abandoned by Borrower, or i£, after notice

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by Lender to Borrower that the condemnor offers to make an award or
settle a claim for damages, Borrower fails to respond to Lender
within 30 days after the date the notice is given, Lender is
authorized to collect and apply the proceeds , at its opticn, either
to restoration or repair of the Property’ or to the sums secured by
this Seouril:y Instrument, whether or not then due.

Unless Lender and Borrower otherwise agree in writing, any
application of proceeds to principal shall no extend or postpone
the due date of the monthly payments referred to in paragraphs l
and 2 or change the amount of such payments.

11. Borrower Hot Released: Forbearance By Lender Not a
Waiver. Ex\:ension of the time for payment or modification cf
amortization of the sums secured by this Securit‘.y Instrument
created b\r Lender to an‘r successor in interest of Borrower shall

 

 

 

 

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Instrument shall be deemed to have been given to Borrower or bender
when given as provided in this paragraph

15. Governi_ng Law; Severabi'.l.it;y. This Security Instrument
shall be governed by‘£ederal law and the law -of the jurisdiction in
which the ?roper\:y is located-. In the event that any provision_or
clause of this Security .In'strim_\ent,_ or the Note conflicts with
applicable law, such conflict"_shall_';not affect other provisions of
this Security instrument or.'the"Note which can be given effect
without the conflicting provision.-_., To this end the provisions of
this Security Instrument andli_-_,hezN'ote are declared to be severable.

16. narrower' s"Copy. Borro"\-'zer shall be given one conformed

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copy of the Note and of this Security Instrument.

17. Tra.nsfer of the Proper|:y or a Beneficial Intorost in
Borrcwer. If all or any part of the Property or any interest in it
is sold or transferred (or if a beneficial interest in Borrower is
sold or transferred and Borrower is not a natural person) without
Lender’s prior written consent, Lender may, at its option, require
immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender
if exercise is prohibited by federal law as of the date of this
Security lustrument.

If Lender exercises this option, Lender shall give Borrower
notice of acceleration. The notice shall provide a period of not
less than 30 days from the date of the notice is delivered or
mailed within which Borrower may pay all sums secured by this
Security Instrument. I£ sorrower fails to pay these sums prior to
the expiration of this period, Lender may invoke any remedies
permitted by this Security Instrument without further notice or
demand on Borrower.

18. Borrower's night to Reinstate. If Borrower meets certain
couditions, Borrower shall have the right to have enforcement of
this Security Instrument discontinued any time prior to the earlier
of: (a) 5 days (or such other period as applicable law may specify
for reinstatement) before sale of the Property pursuant to any
power of sale contained in this Security Instrument; or (b) entry
of a judgment enforcing this Security Instrument. Those conditions
are that Borrower: (a) pays Lender all sums which then would be due
under this Security Instrument and the Note as if no acceleration
had occurred,- (b) cures any default or any other covenants or
agreements; (c} pays all expenses incurred in enforcing v this
Security Instrwuent, including, but not limited to, reasonable
attorneys fees; and (d) takes such action as hender may reasonably
require to assure that the lien or this Security Instrument,
Lender"s rights in the Property and Borrower’s obligation to pay
the sums secured by' this Security Instrument shall continue
unchanged. Upon reinstatement by Borrower, this Security
Instrument and the obligations secured hereby shall remain fully
effective as if no acceleration had occurred. However, this right
to reinstate shall not apply in the case o£ acceleration under
paragraph l']. .

19. Salo of Hote;. change of nunn Servi.cer. The Note or a
partial interest in -=*the x~¥ote (together with this Securit:y
Instrument) may be sold one or more times without prior notice to
Borrower. n sale may result in a change in the entity (known as
the '*Loan Servicer“) that collects monthly payments due under the_
Note and this Security Instrument. There also may he one or more
changes of the Loan Services unrelated to a sale of the Note. If
there is a change of the Loan Servicer, Borrower will he given
written notice of the change in accordance with paragraph 14 above
and applicable law. The notice will state the name and address of
the new Loan Servicer and the address to which payments should be
made.

20. Hazardous Substances. Bo:crower shall not cause or permit
the presence, use, disposal, storage, orrrelease of any Hazardous
Substances on or in the Property. Borrower shall not do, nor allow
anyone else to do, anything affecting the Property that is in
violation of any Ernrironmental haw. The preceding two sentences
shall not apply to the presence, use';. or storage on the Property of
small quantities of nazardous Substance that are generally
recognized to be appropriate to normal residential uses and to
maintenance of the Property.

Borrower shall promptly give Lender written notice of any
investigation, cleim, demand, lawsuit or other action by any
governmental or regulatory agency or private party involving the
Propert.y and any Hazardous Suhstance or Environmental Law of which
Borrower has actual knowledge. If Borrower learns, or is notified
by any governmental or regulatory authority, that any removal or
other remediation of any Hazardous Substa.uce affecting the Property

 

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is necessary, Borrower shall promptly take all necessary remedial
actions in accordance with Environment Law. ‘

ns used in this paragraph 20, ”Hazardous snbstances" are those
substance defined as toxic off-hazardous substances by anironmental
haw and the following suhstances: gasoline, kerosene, other
flammable or toxic petroleum products, toxic pesticides and
herbicides, volatile solvents, materials containing asbestos or
formaldehyde, and radioactive materials. As used in this paragraph
20,. clEcwironmental Law" means federal laws and laws of the
jurisdiction where the Property is located that relate to health,
safety or environmental protection.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant
and agree as fcllows:

21. Acceleration: Remed:|.es. bender shall give notice to
Borrower prior to acceleration following Borrower's breach of any
covenant or agreement in this Security Instrument (hut not prior to
acceleration under paragraph l'I unless applicable law provides
otherwisa). The notice shall specify: (a.) the default; (b) the
action required to cure the defaulty {c) date, not loss than 30
days from the date the notice is given to herrowcr, by which the
default must be cured: and [d} that failure to cure the default on
or before the date specified in the notice may result in
acceleration of the amos secured by this Secnrity Instrument and
sale of the Property. The notice shall further inform narrower of
the right to reinstate after acceleration and the right to bring a
court action to assert the non-existence of a default or any other
defense of Borrower to acceleration and sale. If the default is
not cured on or before the date specified in the notioe, render at
its option may require innediate payment in full of all sums
secured by this security Instrument without further demand and may
invoke the power of sale and any other remedies permitted by
applicable lam Lender shall be entitled to collect all expenses
incurred in pursuing the remedies provided in this paragraph 21,
including, but not limited to, reasonable attorneys' fees and costs
of title svidsn.ce.

If Lender invokes the power of sale, Trustee shall give notice
of sale by public advertisement in the county in which the Property 3
is located for the time and in the manner provided by applicable
law, and Lender or Trust,ee shall mail a copy of the notice of sale '
to Borrower in the mirror provided in paragraph 14, Trustee,
without demand on Borrower, sha:l.l sell the Proparty at public
auction to tha highest bidder at the' time and under the terms
designated in the notice of salc. Lender or its designee may
purchase the Property at any snle.

Trustee- shall deliver to the purchaser Trustee's deed
conveying the Property without any covenant or warranty, expressed
or implied. The recitals in the Trustee's deed shall be prima
facie evidence of the truth of the statements made therein.
Trustee shall apply the proceeds of the sale in the following
orders {a) to all expenses of the sale, including, but not limited
to, reasonable Tr'ustes*'s and attorneys feesr (b) to all sums
secured by this Security :l'nstrument; and [c) any excess to the
person or persons legally entitled to it. I£ the Property is sold
pursuant to this paragraph 21, Bcrrower, or any person holding
possession of the Propsrty through Borrowa:l:, shall imadiately
surrender possession of the Propartj'to the purchaser at the sale.
If possession is not surrendered, sorrower or such person shall he
a tenant at will of the purchaser and hereby agrees to pay the
purchaser the reasonable rental value of the Propsrty after sale.

22. Rslease. Upon payment of all sums secured by this
Security Instrumeut, Lender shall release this Security Instrument
without charge to Borrower. ,

23. Su.bstitute ‘J.‘rustee. hender, at its option_. may from time
to time remove Trustee and appoint a successor trustee to any
Trustee appointed hereunder by an instrument recorded in the county
in which this Security Instrument is recorded. Without conveyance

 

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of the Property, the successor trustee shall succeed to all the
title, power and duties conferred upon Trustee herein and by
applicable law.

24. Waiver. Borrower waives all right of homesteed, equity
of redemption, statutory right of redemption and relinquishes all
other rights and exemptions of every kind, including, but not
limited to, a statutory right to an elective share in the Property.

BY SIGNING BELOW, narrower accepts and agrees to the terms and
covenants contained in this Seourity Instrument and in any rider (s}

executed by Borrower and recorded with it. IN WITNESS WHEREOF,
narrower has executed this Secnrity Instrument.

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Oneta K. Teal

 

STATE OF TBNNESS.EE
COUN’I‘Y OF COFFEE

Personally appeared before me, the undersigned Notary Pn'olic,
the within named bargainors, AN;'HONY TEAL and wife, ONBTA K. TEAL,
with whom I am personally acquainted, and who acknowledged that

they executed the within instrument for the purposes therein
ccntained.

wITN'ESS my hand this the-14th day of December, 2005.

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EXHIBIT 2

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:arrél Mouoy
§

 

=rom: Hill,- Lyn_da`-_Mi _<lhill@fbtlaw.com>

ient: Thursdaj},_lnne'-Z?,` 2013 2:54 PM
I'o: Carrol Mo|lo'y

Subject: RE: Requests for information
Carol,

[-Ierc is the additional information you requested regarding 630 Tcal Road and Gotta Mi]l< Lanc properties

l. 630 Tcal Road - Loan No, 16866651 - 'Ibere is currently no amount that can bring the loan current at this
imc bccause, according to the express terms ofthe loan, it went into default upon the death oftbc borrower,
l/I:rs. Tcal. Even if it could have been brought cz.u'rcnt7 because it is an asset of the csiatc, it has to be disposed
of in some manner through the Probatc Court to satisfy claims against the estate That being said, if you will
present to the Probatc Conrt an acceptable plan for sach payoff with funds from a different lender-before the
currently set foreclosure datc, CCB is willing to postpone the foreclosure for a modest period of time to allow
t`or the execution of any plan presented that is acceptable to CCB and the Probate Court.

 

2. 672 Rigncy Lane/ZIZ Gotta Milk Lane

(1) Loan No. 716242166 - 'I'bis loan cannot be brought current because the note has matured The Teals
must pay it cff in full.

(2) Loan No. 716242167 - Thjs loan cannot bc brought current because the note has matured The Teals
must pay it offin full

(3) Loan No. 716242168 - 'Ibis loan has not yet matured (maturity date oprril 30, 2015); however,
bringing it current Would not preventfor`cclosurc. The Bank is foreclosing on Loan No (1). Only if Loans (1)
and (2) arc paid off, Would brinng this loan current have any impact on the foreclosure proceedings.

-Lynda

 

From: Carro| Moi[oy~[ma§ito:mo|!oy$@gmail.com]
Sent: Friday, Junei`21-,' 2013 2:55 PM

To: Hi|l, Lynda M. »

Subject: RE: Requects for infonnation

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em;'siu, Lynda M.[ 1
mt: Friday, luna 21, 2013 2:49 PN!

):
lbject: RE: Requests for information

fy bank contact is gone til Monday and I'm ou't now too. l'll follow up with a response early next week.

ynda M. Hill
cost Brown 'l.`odd LLC
515) 251-5589

-'--Original Message -----

rom: Carrol Molloy [cmolloy§@gmail.corn]
ieceived: Priday, 21 Jun 2013, 2:12pm

o: l-Iill, Lynda M. [lhill@fbtlaw.com]

ubj ect: RE: Requests for information

banks ryan

fan you get an amount that the bank wants to bring both the 630 Teal Road, and the Gotta Mill< Lane properties
urrent?

}arol
ror.n: lBlI, Lynda M. [ ]
ent: Friday, luna 21, 2013 1:13 PM

`o: Carol Molloy
nbj cct: Requests for information

larol,

lere is the information you requested

. Attached is the Au.gust 2009 note on the 'l`eal Road property.

.'Payoff info through June 30, 2013, on the 4 outstanding loans 'l`eal loans:

ij Loan No. 716242166 - secured by 672 Rigney Lane/Gotta Milk Lane _ payoff is $224,627.28 with a per
liernof$31.51. ‘

2) Loan No. 716242167 - secured by 672 Riguey Lane/Gotta Mi]l< Lane - payoff is $155,211.52 with a per
liem of $22.74.

3) Lcan No. 716242168 - secured by 672'-Rigney Lane/Gotta Milk Lane - payo&` is $85,226.05 with a per diem
if 318.47. .

4) Loan No. 16866651 - secured by 630 'l`eal 'Road-payoff is $118,059.36 with a per diem of $20.82.

tegards,
2

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From: . Hi|l, Lynda M. <ihiil@fbtlaw.com>
Sent: Thur$day, luna 27, 2013 2:54 PM
To:, Carrol Molloy

Subject: RE: Requesl‘s for information
Carol,

Here is the additional information you requested regarding 630 Teal Road and Gotta Millc Lane properties:

l. 630 Teal Road » Loan No. 16866651 - There is currently no amount that can bring the loan current at this
time because, according to the express terms of the loan, it went into default upon the death of the borrower,
Mrs. 'l`eal. Even if it could have been brought current, because it is an asset ofthe estate, it has to be disposed
of in some manner through the Probate Court to satisfy claims against the estate. That being said, if you Will
present to the Prcbate Court an acceptable plan for sale/ payoff with funds from a different lender-before the
currently set foreclosure date, CCB is willing to postpone the foreclosure for a modest period of time to allow
for the execution of any plan presented that is acceptable to CCB and the Probate Court.

 

2. 672 Rigney lane/212 Gotta Milk Lane

(1) Loan No. 716242166 - Thls loan cannot be brought current because the note has matured The Teals
must pay it off in full.

(2) Loan No. 716242167 ~ This loan cannot be brought current because the note has matured The Teals
must pay it 05 in full.

(3) Loan No. 716242168 ~ This loan has not yet matured (maturity date oprril 30, 2015); however,
bringing it current would not prevent foreclosure The Bank is foreclosing on Loan No (i). Only if Loans (l)
and (2) are paid off, would brining this loan cprrent have any impact on the foreclosure proceedings

~Lynda

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€"’15 513 ali-39 EI."&C* § fti’»§ 251 §.`5§€ "!`&l°. § 5§5 251.5"§5" Fa>.

From: Carroi Mol|oy [maiitc:cmolloy$@gmaii.com]
Sent: Friday, June 21, 2013 2:55 PM

`¥'o: Hil|, Lynda M.

Subject: RE: Requ§ts for information

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The-t s nna=.

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Case 4:13-cv-00051-CLC-SKL Document 1-1 Filed 08/01/13 Page 28 of 46 Page|D #: 31

 

EXHIBIT 3

Case 4:13-cv-00051-CLC-SKL Document 1-1 Filed 08/01/13 Page 29 of 46 Page|D #: 32

 

  

  

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MDBRESS:NEW OWNERt SENB TAX BILLS TD: MAPI PARCEL NO.

New Qiivner Map 15 l Patcel 33
\Ronnie K. Taat

1005 Johnnia Jarreil Road

 

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the “§£angg," his their heirs and assigns atl of my tight title and interest in and to the
following described tract or parcel of land in Morrison. Coffea County, State of Tennessee.
described as follows1 to-wit: .

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D in the 15th civil Distric‘l of Coffee County, Tenne$eee. being

  
  
  

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` _'.-_K.- root as tenants in common, by deed from Cailvn H.
record in _Book WZBS, Page 322 -- 324. Register's O'Hice

y y iiTenpcscec. The said Riloy it Toal having since
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acquainted (or upon the basis of satisfactory evidence presented to mo), and wire
acknowledged that she executed the foregoing instrument for the purposes therein
contained `

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Case 4'13-cv-00051-CLC-SKL Document 1-1 Filed 08/01/13 Page 31 of 46 Page|D #: 34

 

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EXHIBIT 4

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EXHIBIT 5

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Manchester, Tennessee 37355

   

jth op moss

 

FOR.AND IN'CONSIDERATION`OF ONE DOLLRR¢ ha UB Paid, the receipt of
which is hereby acknowledged, and other considerations hereinafter
m&ntioned, way KATHERINE TEAL, ARTH¢NY TEAL, and RUNNIE K. TEAL,
have this day bargained and~_=sold, and do hereby transfer and
convey, -'t_- lie ' ¥.:Kirby,-;_Trustee, and his suc¢e;_gsors in trust,
certain P " Eh *Thi?d Civil.Distriot of C¢ffeo County,
Stat.e cf- ` ' "`S__'-;:-`f¢ll¢_'&il`$',--'.f:`d*;‘§i*,i|i§_ `

 
        
  
     
   
  
  
  
 
  
  
 
  
 
 
   

 
   
  

  

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';-_-s',‘_c`)_s°'-_'f_so"' 191' 'w-, 576.721-_£¢¢{;~_.1:0;-@ -;rpo_ nj#;_--'
6 Sn'corner_of the intersé¢&ion of Shady**
'Teal Road; thence with the north margin of
oéd, N 79 ° oz' 43“ w, 402.93 feet tacha
inning and containing 9-36 acree and,hoing a
he property'in need Book 234, Page 81 of the
office of Coffee County, Tennoaseo.

ng'the same property conveyed to Rilay K. Teal,
y Téal and Ronnie K. Teal by deed from Calvin H»
méf" dated September 8, 1998 and recorded on
T§Y‘B, 1998 at 11:30 A.M, in Warranty Dead Book
1_,_'_'_‘a`ige 322L Regiater'a Offica of Coffee County,
_Tenpé$§ée. Riley K. Teal is now deceased having died
'into§bato in 2005. Hia estate is currently being
probated in the Coffoe County Chancery Court as Case Nb.
PWQ§¢GZ. At the time of his death, Riley K. Teal was
surviv@d by his wife, Viola Khtherine Teal, and two
childxen, Anthony~Teal and Ronnie K. Teal, who were his
only heirs ab law» The said viola Katherine Teal has
quitclaimed her interést co Riley K`-Teal. by Quitclaim
Bee& dated July~z?, 2099 end recorded in Trust noaa Book
334, page 780, Register's Offica cf Coffea County,
Tennessee. -

 

TO HAVE AND TO HOLD, said property to the said Kenneth Kinwy.
Truotee, and his successors in.tru$t, forever. we covenant that we
are lawfully seized of said property. have a good righh to convey
it and that the same is unencumbered. We further covenant and bind
ourselves, our heirs and representatives, to'warrant and defend the
title to said property, to the Baid Kenne;h Kirby, Trustee, or his
suooossors in trust, and assigns, forever, against the lawful
claims of all persons,

Thia conveyance is made IN TRUST to secure the full, prompt and
final payment of any and all indebtedness, including principal,
innorost, default. charges, attorney' fees and costs as may' be
provide€ in any instrument evidencing indebtednesa, now or
hereafter owed to the lender, either directly or indirectly, or as
endorser or guarantor for others, and including the following=

Given.to Seoure a line of credit from Coffee County Bank
which will be available to Katherine Teal in the amount
of Ninety~$even Thousamd Five Hdndred & ND/loo
($97,500*00} Dollars, which.will be maintained after the
date of this note. but in.no event longer than Septembor

Case 4:13-cv-00051-CLC-SKL Document 1-1 Filed 08/01/13 Page 39 of 46 Page|D #: 42

 

' This need of Trust elec secures repayment of any present or futurs~»*W`“
debt owed by the nmdersigned to the lender, and any and all .~r
modifications, extensions or renewals of this or any other debts
owed by the borrowers to the lender.

mergele PRINCIPAL INDEBTEDNESS worse THIS DEBD op TRU$T FoR
TENN_E se -._-_Recor_e_.omcl wax PURPGSBS rs NINETY~$EUEN excusable PIVE
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l ' such default,
`*end-the said

  
  
  
 
  
    
 
 
   
 
 
 
 
  
    

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P nSQf "Ev'&ryf .klnd. ,. Whi gh_:_~`;‘a-re

    

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l`_:' see l:joj_ehjexppr¢heeer. The deadlines ‘
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espectively. enter and.take;possesgi¢n=
only account for net rents recervéd.

buildings on said property insured in some-
zoompany or companies for the amount of the
, f-» t _fd the eunlherein.eecured is fully'paidd and to
heve the loss.nade peyeble on the policy to said Trustee for the
benefit of the owners end holders of the debt herein secured§¢,we
agree to keep the improvements on said property in good`repeir and
preservetion=end to pay all taxes and assessments'end to pay them
when due: and in case we fail to do either, the said Trustee,.or
the creditor herein secured may do either and charge the amount eo
expended as part of the debt herein secured,

In case of sale under this Deed of Trust, the proceeds will be
applied by the Trustee;r

First * to pay all the costs and charges of executing this trust,
including attorney’s fees and the expense of any litigation which
may arise on account of the execution end enforcement of this
trust.

Secon§ 4 to pay said debt. or anj*balanoe thereof then remaining
unpai .

Third » The residue to be paid to us, the grantors herein or order.

_And in case of death, ebeence, inability or refusal to act of the
isaid Trustee et any time, when action under the foregoing powers
end trusts may be required, the owner of the debt herein secured is
hereby authorized to name and appoint a successor to execute this
trust and the title here conveyed to Kenneth Kirby¢ Trustee, shell
be vested in said successor-

In the event of a sale of said property under end by virtue of said
trust, we, the grantors herein and all persons holding under us
shell he end become the tenants at will of the purchaser of the
same from and after the execution and delivery of a deed to such
purchaser, said tenancy to he determined at the option of said

purchaser upon five days written notice.

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Eifif' 213 231 3 23: l`? 5159@4?211 CIND’Y` FERGUSON

Dated this the 24th day of August, 2009.

' M@¢ 7;.,/
Kather'ine Tea y Anthony T

pursuant to a Powex of Atto::~ney
of record in thrust need Book

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Telmesaee
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thony eal

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Ronnie' K. Teal

_ ‘ AcxNowr.Ens:-m-ENTBEP<)RE _Nom¥ Pu:BL:c:

 
    
 

the undersigned authority, a notary
or the said county and

_ scate. the within named
;gndividually and as attomeY-ianact for KATHER_INB
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.. ‘ mainors, with whom l' am personally
.-'~_a`_L-n'd' who acknowledged that-. they executed the within
' the purposes therein contained.

-_;iand ana official geal the 24th day of Auguet, 2009.

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EXHIBIT 6

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r-. -/\
1 , ¢
This instrument prepared by: MAXIHUM&PRINCIPAL INmEBTEDNESS
Shawn C. Trail, Attorney for Tennassee recording tax
GARLAND & TRAIL, LAW OFFICES purposes increased by:
117 South Spring Street $*g¢gg_

Manchester, Tennessee 37355

EODIFICATIOH AGREEMENT
This agreement is between ANTHONY TEAL and'wife, ONETA K. TEAL,
hereinafter called borrower, and COFFEE COUNTY BANK, hereinafter

called the lender, wITNESSETH: guarantee

WHEREAS, the lender has heretofore made a loan to the borrower in
the principal amount of $215,000.00, evidenced by the torrower's
note dated December 14, 2005 and a Deed of Trust of even date with
the note, of record in Trust Deed Book 670, page 782, Registeris

Office of Coffee County, Tennessee; and

WHEREAS, the borrowers have requested the lender to modify certain
provisions and conditions of that loan, and in consideration of the
premises and other good and valuable considerations. the borrowers

and lender agree as follows=

{i) No additional monies are being advanced to the borrowers, and
the balance of the loan after this modification will be
$214,538.69. The principal indebtedness for recording tax purposes

will be increased by $0.00;

(2) The interest rate will be reduced.to Five and_One Half (5.50%)

PerCent 5

{3) The maturity date of the loan will be extended until February

20, 2012,- and

(4) This loan is payable in, Twenty~Three (23) equal monthly
payments of One Thousand Three Hundred Fifteen & NO/IOO ($1,315.00)
Dollars each beginning Maroh 20, 2010, with a Twenty‘Fourth and
final balloon payment consisting of the full amount of the

principal and all accrued interest due and payable on February 20,

2012.

CCB(Tea|)_OOOSOD

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The borrower authorizes and directs the lender to take any action
necessary to conform the original note, security instruments and
other collateral documents to the terms as herein modified, and by
execution of this Modification Agreement, accept and confirm
liability under those inetruments, as modified. The borrower
further agrees that the foregoing modification shall in no way
affect or otherwise release amy collateral held by the lender as

i
security for the note, and agree that the collateral will continue !
to secure the note to the same extent and in the same manner as if §

the foregoing modification agreement had not been executed.

DA‘I‘ED this the llth day of March, 2010.
COPFBE COUNTY BANK

BY: jé».w/C'jt¢'¢;

Kenneth C. Kirby, Presidcnt

v 14Whony ziéal

Oneta K. Teal

 

ACKNOWLEDGEMENT BEFORE NOTARY PUBhIC l
STATE OF TENNESSEE 9"` 1
COUNTY OF COFFEE )

Personally appeared before me,. the undersigned authority, a notary
public in and for the said county and state, the within named
Bargainors,_ with whom I am personally acquainted, and who
acknowledged that they executed therawithin instrument for the

purposes therein contained
witness my hand and official seal this llth day o§ March 2010.

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NHJLTIPURPOSE=‘ROT:E§¢UD sEcURrrY AGREEMENT memo 09

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_‘{N 3735_?. _' _ _ 1 .- . eau~‘rzs_-w?$ mow nw Apm 15. 2013
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ma n n_ ¢. _` ~_ 'oo mo names sms.oao.oo )
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.SIng!e Advzn'cei_ ; ¢_`)flhis principal wm a one dme. Noaddi¢ioml advances will bcmedc underch?:Norc'.
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m Cond.i;ions: The candidate for drum advances are

 

     
   
 
   
  
  
 

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Ac¢ueb'EISS Dog basis. I agree lo pay interest on the principal balance owing from lime to time as stated
_co_ :'q¢`m\der the inns ofthls No¢e will am interest only from the date that l receive ckzadmc¢. As provided for

` viil§l"=ip_ply l.o l.he outstanding principal balance tim I owe. The amount of harm charged by you will out exceed
ovj`¢'éd by lam

one of 1 amy - ss payee from osgagzoos nom paid in fusl.

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PA¥MENT$: 1 agree co pay mix Noce as fallows:

Ti:llS_NO`f£' 18 DUE on DEMAND, lF NO DEMAND THEN.' y - - - F 1 .. ~. -: _ -. -~ . 4 ‘
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and continuing monthly choreafrer, and one l‘|_l final payment ¢onsistlng of_\ho-f\:¥l amount-of thai prlnolpat and all accrued interest
remalmng doe and payable on Aprll 353_25133.__;,_», gm ‘.:='?z'»-=. . .. . - . .
Posr mrva memo mmi-lion aen,h-::u&` mo?uy’“ .¢n m¢-nopa»d” ' "Fi‘mipo?eon¢e owe mo roe same wis o morse accrue nor o
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FA¥MENT AMOUNT OF! $5.00 WHICHEVER IS G‘REATER. 95

 

 

 

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111 addiifon to accrued interest f agree to pay the following charges$': '

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SECURIT?: !gi\'e you a security lowest in the property describedbelo\v to secure the obliga!ious of this loom

All mopnfarm produm cf avery kind and descdptlon,r&l:pmud or g:'owing. ar to be pleased or growing whhd\ one
accessions. ad¢itlotw. replacemanu, psymems for pa alien fn any stale or federal farm programs and subsumensilncwd‘mg rights under
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of the lo:egolng; all proceeds{hciud'ng insurmqo, annual imagib£oe, rents md accounts prooeedsl; whose ever lauted_ All livestock of every
kind and description including but nat llml'tod !o blef and dairy cattlb, branded ar unhra:}_dld, phs any increase \hareirom, and lnclud§ng steers and
bulls now owned by deblor. Nl a¢€¢S-'dohl. addilfom, replacemonls, payments for iertielpail¢n in any state or-fedm| farm prognms and
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tooato¢f. lnclus;on of psooeods does not authorize debtor to soil or otherwise dispose of oolia\eral. All warehouse roeolpts wood by al their
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AL`L, DEB'IS - ‘E`HE ABOVE PROPERTY WTLLAI.SO SERVH A.S SECURH`Y FOR ALL OI-` MY PRESEN'I` AND PUI`URE DEBTS TO YOU.

 

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THE I‘URFOSB OF 'I"BE I.OAN IS w com coe ama inns 71524 155 bua ledu_uuwoo

C”é§§“?t.‘f§f’ev-OOOBl-CLC-SKL D@oument 1-1 Filed 08/01/13 Page 45 of 46 Page|D #: 48

 

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Not€ce of Furnl<shing Nogative Crad';t lnf¢..tnat.iort -f

You may repo_n lnfnrmation about nw loan account to credit buteaus. Lato payments, missed payments, or other defaults on my
account may. be reflected in my credit repon.

 

 

Third Farty Ag`reement .

l own ma Froperty described in the Secur'rty section of this Note and Security Agreement and l agree to give you a security interest in
that Propercy. l em not personally liable for payment cl this debt. litho Borrowet defaults. my interest in the secured P:ooerty may be
used to satisfy the Borrower's dobt. By signing, l agree to the terms of this Noto and Security Agreomem and acknowledge receipt ol a
complete copy of this E.oan. ‘

 

iSeal) (Seali
Date Dato

 

lSeall lSeal)
Data Daze

 

 

 

CO-SlGNER$: As a co'signeri agree that l must pay this note if it is not amen-rise paid by Barrower when due. l understand that you
may sue any co‘signer separately or}olntly. and you do not have to notify me if this note is not paid in a timely monne:. The obligations
of the co'sigfn'ohrs executing this l.oan shall not he affected by any discharge in bankruptcy granted to otto or more Borrow.~zrs or
cci-signers o is Lnan.

 

 

Notlc.e to ¢o-Slgner

You ithe Co~Bignarl are being asked to guar@nty this deh‘t. Thlnk carefully before you do. ll the Bon'ower does not pay the debt. you
witt have to. Se sure you mn afford to pay if you have to, and that you went 10 aocepnhts resporn-ibility.

You may have to pay up to the full amount of the debt if the Banower does not pay. You may also have to pay late fees or
collection casts, which inc:ea‘so this amount.

the Bank can collect this debt from you withoqt first trying to collect from the Bonower. ?ha Bank can use the same collection
methods against you that can be used against the Bon'ower, such as suing you, galnishing your wages. etc. if tlu's debt is ever ln
default, that fact may become part of your audit record.

 

Thls Notit:e is not the contract that makes you liable for the deht.

X X
€o-Signer Signature.- or initials Co-E~"a§ner Signarure or lnitia£s }

 

 

     

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DEBTOR SHALL NOT EXCEED AMOUNTS FAlD BY IHE DEBTOR HEREUNDER.

     

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Agreement.
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